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DECLARATION OF VICKI I. PODBERESKY

I, Vicki I. Podberesky, declare:

1. I am an attorney licensed to practice law in the State of California and I am
admitted to practice in this Court.

2. I represented José Luis Huizar in this matter until July 24, 2020, when I was
substituted as counsel by the Office of the Federal Public Defender. ECF No. 31.

3. On December 13, 2018, Assistant United States Attorney Mack Jenkins
provided a proffer letter agreement (“Proffer Agreement”) in anticipation of the parties
anticipated meeting. A true and correct copy is attached as Exhibit A.

4, On December 18, 2018, I and my law partner Mary Andrues, represented
Mr. Huizar during a proffer interview with the government. The government was
represented by Assistant United States Attorneys Mack Jenkins (“AUSA Jenkins”) and
Veronica Dragalin (“AUSA Dragalin”) and FBI Special Agent Andrew Civetti

5. The parties executed the Proffer Agreement prior to starting the meeting.

6. On January 3, 2019, Mr. Huizar, Ms. Andrues, and I met with the
government pursuant to the Proffer Agreement. AUSAs Jenkins and Dragalin, IRS
Special Agent Jim O’Leary, Special Agent Civetti, FBI Special Agent David Wong, and
FBI Special Agent Teresa Tampubolon were present.

7. On April 10, 2019, Mr. Huizar, Ms. Andrues, and I met with the government
pursuant to the Proffer Agreement. AUSAs Jenkins, Dragalin, and Melissa Mills, Special
Agent Civetti, and FBI Special Agent Robert Logan were present.

8. On December 13, 2019, we received a call from AUSAs Jenkins and
Dragalin. AUSA Jenkins advised us that the government believed Mr. Huizar had not
been forthcoming and had lied to the government about his alleged involvement in the
940 Hill Project during the April 10, 2019 proffer session. Further, the government
claimed that Mr. Huizar had not been forthcoming in connection with the 940 Hill Project
until the government put Justin Kim on a list of topics to be discussed during the April

2019 proffer session. During this same conversation, we informed government counsel
I

 

 
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we would like to see if Mr. Huizar could rectify any perceived misstatements and
continue to provide information to the government in an effort to resolve the case pre-
indictment. AUSA Jenkins also indicated that he wanted an image of Mr. Huizar’s
cellphone as part of further discussions to resolve the case pre-indictment.

9. Following the government’s call in December 2019, Mr. Huizar continued
to provide information to the government. Government counsel would provide me with
a series of questions, I would obtain responses from Mr. Huizar and provide them to the
government. The parties had several communications like this from January through
March 2020. The defense believed that this exchange of information was still under the
proffer agreement.

10. On/January 22, 2020, AUSA Jenkins provided the names of four individuals
about whom it wanted Mr. Huizar to provide information.

11. On March 18, 2020, I spoke with AUSAs Jenkins and Dragalin. The
government identified certain subject matters and individuals about which it wanted Mr.
Huizar to provide information.

12. On March 19, 2020, AUSA Jenkins emailed me regarding the parties
January 22 and March 18, 2020 conversations. A true and correct copy of that email is
Attached as Exhibit B.

13. On March 20, 2020, I called AUSAs Jenkins and Dragalin regarding the
information they requested and referenced in AUSA Jenkins March 19, 2020 email.

14. Following my attorney proffer, AUSA Jenkins and Dragalin stated that they
“were much more convinced” and that they “would call that significant progress.” AUSA
Jenkins told me that they “continue you to be encouraged” about the truthfulness and
helpfulness of my client’s cooperation.

15. On March 24, 2020, I again provided an attorney proffer to AUSAs Jenkins
and Dragalin. I then provided a telephonic attorney proffer to AUSAs Jenkins and

Dragalin.

 

 
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16. Later that same day, AUSA Dragalin emailed me to follow up on our earlier
conversation and request additional proffer information. A true and correct copy of that
email is attached at Exhibit C.

17. In May 2020 Mr. Huizar also voluntarily provided an image of his
cellphone, his actual cellphone as well as the cellphone password pursuant to the
proffer agreement.

18. On May 15, 2020 the government sent an email explaining that the parties
had productive attorney proffers and the government was still waiting for the answers to
pending questions. A true and correct copy of the email is attached hereto as Ex. D.

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed on November 15, 2021, at Los Angeles, California.

et

Vicki Podberesky

 
